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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:05-cr-0128 LKK AC
12                      Respondent,
13           v.                                        ORDER
14   DONNA ROWE,
15                      Movant.
16

17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct her sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On February 24, 2014, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within fourteen days. Movant has filed

23   objections to the findings and recommendations.

24           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   /////
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 1           Accordingly, IT IS HEREBY ORDERED that:
 2           1. The findings and recommendations filed February 24, 2014, are adopted in full;
 3           2. Respondent’s motion to dismiss movant’s 28 U.S.C. § 2255 motion, ECF 469, is
 4   granted;
 5           3. Movant’s 28 U.S.C. § 2255 motion, ECF No. 462, is dismissed with prejudice based
 6   on the statute of limitations;
 7           4. The court declines to issue the certificate of appealability referenced in 28 U.S.C. §
 8   2253.
 9           5. The Clerk of the Court is directed to close the companion civil case, No. 2:13-cv-2058
10   LKK AC.
11           DATED: April 23, 2014.
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